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 Via ECF

 December 14, 2023


 Hon. Nusrat J. Choudhury
 United States District Judge
 Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722


 Re: Clarke et al. v. ALAA et al. (2:23-cv-08869) (NJC) (ARL)


 Dear Judge Choudhury:

         We write on behalf of Plaintiffs in the above-referenced case in connection with the
 hearing scheduled for tomorrow, December 15, 2023, regarding Defendants’ motion to dissolve
 the TRO and Plaintiffs’ request that the status quo be maintained through a preliminary
 injunction.

        This morning—subsequent to the filing of Plaintiffs’ motion papers—the New York
 Times published an article titled “How the Israel-Hamas War Tore Apart Public Defenders in the
 Bronx.” We intend to refer to this article at the hearing tomorrow. Therefore, we respectfully
 enclose a copy as Exhibit A to this letter for the convenience of the Court and the parties.

                                                                                                   Respectfully submitted,

                                                                                                   /s/ Jeffrey D. Hoschander
                                                                                                       Jeffrey D. Hoschander

 Cc: All Counsel (via ECF)




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